                                     UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON
In re                                              17-33027-pcm13
                                      ) Case No. _________________
Michael Richard Krueger               )
                                      ) [ONLY FOR CHAPTER 13 CASES]
                                      ) DEBTOR'S ATTORNEY'S DISCLOSURE
                                      ) OF COMPENSATION AND ANY
                                      ) EMPLOYMENT AGREEMENT, AND
                                      ) APPLICATION FOR COMPENSATION,
Debtor(s)                             ) UNDER 11 USC §329 AND FRBP 2016(b)

Debtor's attorney discloses compensation paid or to be paid in the above referenced case. Debtor and debtor's
attorney have agreed to attorney compensation, and    have      have not entered into an employment agreement.
A copy of the employment agreement, if any, is attached hereto.

The applicable schedule for the fee agreement between debtor and debtor's attorney is indicated below. If Schedule
1 or Schedule 2 is selected, debtor(s), acting by and through the undersigned counsel, apply to the court for an
order authorizing the compensation specified therein.


    SCHEDULE 1: The total fee request is $                       ($4,750 maximum). This amount represents all fees
    for the entire life of the case except for appeals or any adversary proceeding. Debtor has agreed to pay fees of
    $                        ($4,750 maximum) and expenses of $                    for a total of $                .
    Debtor         (specify)                                      has paid $              , leaving $            to
    be paid through the plan.



    SCHEDULE 2: Regarding all services rendered through confirmation of the plan plus the initial audit of claims,
    debtor and debtor's attorney have agreed upon:
      (a) a flat fee (i.e., requiring no itemization) of $                  ($3,450 maximum). Debtor and debtor’s
          attorney have agreed that post-confirmation services (after the initial audit of claims) will be charged as
          specified in the attached agreement or, if there is no written agreement, as follows:




        (b) an estimated total fee of $     5,000      and expenses of $        0       . Time records must be kept
            for all work performed both "pre" and "post" petition. Such records may be requested by the court at any
            time, and must show the time and rate applied to each service rendered. If the estimated fee exceeds
            $3,450, an itemized statement showing the time and hourly rate applied to each service rendered,
            attached to LBF 1306, must be filed with the court not less than one week prior to the final confirmation
            hearing.

         Debtor     (specify)                                                      has paid $     1,375     , leaving
$        3,625      to be paid through the plan.




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SCHEDULE 3: [COMPLETE ONLY IF CURRENT ATTORNEY WAS RETAINED AFTER CONFIRMATION OF A
PLAN.] Debtor and debtor’s attorney have agreed to fee arrangements as follows:




        Debtor          (specify)                                                   has paid $                    ,
        leaving $                       to be paid through the plan.

   [If the services specified in a previously submitted Schedule 1 or Schedule 2 (through confirmation and the initial
   audit of claims) were not completed] The debtor, the debtor’s former attorney, and the debtor’s current attorney
   have agreed to the following with respect to the former attorney’s fees and will apply for any necessary court
   order for approval:




IMPORTANT:

1. No additional compensation requests will be granted if SCHEDULE 1 is selected, or after a final application is
   filed if SCHEDULE 2 or SCHEDULE 3 is selected.

2. Supplemental applications for compensation: (a) may only be filed if SCHEDULE 2 or SCHEDULE 3 is
   selected;(b) will not be considered unless the application is clearly marked as a final compensation application,
   or unless the supplemental compensation requested is more than $500 and at least 6 months have expired
   since the filing of the case or since the filing of any earlier application; and (c) must be filed using LBF #1307,
   including an itemization of all services previously performed for which no previous itemization and application
   has been filed.

I certify there is no agreement to share compensation with any other person, except with a regular member, partner,
or associate of my attorney firm, except as follows (provide details):




I further certify that on       12/28/17       a copy of this document was served on the debtor(s) and trustee.



DATED: ______________
           12/28/17
                                              /s/ Rex K. Daines, OSB #95244
                                             __________________________________________
                                             Debtor's Attorney




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